    Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 1 of 30


                                    Tolunay-wo
                                                               qlf       En   g   in   ee    rs, Inc
                                                          "s
            '107'10 S. Sam Houston Pkwy W., Suite   100   /   Houston,   TX 77031      I   713-722-7064 I



COVER


SHEET
                                                                                                             Email
   To:        Mr. Mike Swymn                                              From:               Arthur   J.   Stephens, P.E.
              (mswymn@becht.com)                                                              Direct:       713-821-5842
              Becht Laser Scanning                                                            Phone:        773-722-7064
                                                                                              Fax:          773-777-0347 / 713-722-0379
   Gc:        Alvin Yu                                                                        Cell:         832-747-2779
                                                                                              Email:        astephens@tweinc.com
              (Alvin.w@fluor.com)
              Dustin Walker                                               Date:             December 19,2018
              (dwalker@,tweinc. com)                                      TWEI #:           rs.14.036

   Ref:       Proposal Request
              South Louisiana Methanol Project


Dear Mr. Swymn:

Fluor has requested Tolunay-Wong to obtain a proposal                              for surveying for the South Louisiana
Methanol Project. The specifications are attached.

We request your proposal no later than January 4,2019. Fluor will evaluate the proposal and issue a
contract by January 74,2019. It will be important to mobilize to the site by January 21,2019, and
complete the survey effort prior to crop growth.

Please include the above schedule and the estimated time to complete the surveying in your proposal.

Thanks for your assistance.

Sincerely,

Tolunay-Wong Engineers, Inc.
TBPE Registration No.: F-000124




Artfrur 1. Stepfiens, Q.E.
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Art/dee
Attachment:             RFP




                                       \\Fs1\HOU_Data\HlG\Projects\2015\15.14.035 - South Methanol Plant\15-14-036.026D-email.docx
 Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 2 of 30



qlD rw'r




                   Request for Proposal




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      Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 3 of 30




 South Lcuisiana
 Methanol                                                                                                           FLUOR.




                                                       MODIFICATION                       1
                              SOUTH LOUISIAIIA METIIANOL PROJECT
                                       SCOPE OF WORK
                            AERIAL IMAGERY, ORTIIOPHOTOGRAPIIY,
                             3.D TOPOGRAPHICAL MAPPING SURVEY

                                                        Fluor Project No: S1LM




 A                                20                        Issued for Bid                        REL

                                                                                                                              FLUOR          CLIENT
REV        DATE               PAGES                       DESCRIPTION                           ORIG.          CHKD
                                                                                                                                APPROVED BY




                                                                                                                               Page 1 of20
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Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 4 of 30




Seiuth Louisiana                                South Louisiana Methanol
                                                                                                                 FLUOR.
                                                                                                  Modification I
                                                        SLM Project
Methanol                                        St. James Parish, Louisiana
                                                                                                  SOW for3-D Aerial Mapping
                                                                                                  Revision: 0
                                                                                                  Date: l2l2ll20l8




                                                                                                                              Page2 of20
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 Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 5 of 30




 South Lauisi*na                                 South Louisiana Methanol
                                                                                                                  FLUOR.
                                                                                                   Modification I
                                                          SLM Project
 Methanol                                        St. James Parish, Louisiana
                                                                                                   SOW for 3-D Aerial Mapping
                                                                                                   Revision:0
                                                                                                   Date: l2l2ll20l8

                                                   TABLE OF CONTENTS

1.0     DEFIMTIONS AND ABBREVIATIONS                                                                                                         4

         1.1       Definitions                                                                                                        ....4
         1.2       Abbreviations ................                                                                                        .4

2.0     PROJECT SCOPE                                                                                                                        5

        2.1        Scope of     Work...............
        2.1        Project Flight Plan..
        2-Z        Survey Ground Control
        2.3        Aerotriangulation..........
        2.4        Applicable Documents and Drawings ..........
3.0      GENERAL INFORMATION

         3.1       General Notes to the Contractor ..................
4.0     DELIVERABLES

        4.7         3-D Pointcloud..............
        4.2         Contour Drawing.....
        4.3         Photomosaic (Orthophoto).........................
        4.4         Digital Terrain Model (DTM)
        4.5         3-D Studio..
        4.6         Outfall Drainage Point Survey
        4.7         3-D Survey Registration Accuracy Report...
5.0      PROJECTEXECUTION/SCHEDT]LE

         5.1       Project Work Plan...
         5.2       ProjectSchedule.....
ATTACHMENTS

         Attachment A - 3-D Aerial Mapping Scope Drawing
         Attachment B - Contract Daily Report
         Attachment C - 3-D Registration Accwacy Report...




                                                                                                                          Page 3   of20
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Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 6 of 30




South l..ouisinna                               South Louisiana Methanol
                                                                                                                 FLUOR,
                                                                                                  Modification I
                                                         SLM Project
Methanol                                        St. James Parish, Louisiana
                                                                                                  SOW for 3-D Aerial Mapping
                                                                                                  Revision: 0
                                                                                                  Date: l2l21l2ll8

1.0       DEFINITIONS AND ABBREVIATIONS

          1-l     Definitions
                  Jobsite:                          The lands and other places on. under, in or through
                                                    which the worl$ are to be executed or carried out and
                                                     any other lands or places.

          Throughout this Scope of Work, where the word "shall" is used to define a requirement,
          Contractor must comply with the requirements. Where the word "should" is used to define
          a requirement, the Contractor may select an alternative and advise Fluor accordingly prior to
          implementation of altematjve.

                  UAV:                               An unmanned aerial vehicle            (UA$,      commonly known as a
                                                     drone, is an aircraft without a human pilot aboard. UAVs are a
                                                     component of an unmanned aircraft system (UAV); which
                                                     include a UAV, a ground-based controller, and a system of
                                                     communications between the two. The flight of UAVs may
                                                     operate with various degrees of autonomy: either under remote
                                                     contol by a human operator or autonomously by onboard
                                                     computers.

                   Control Station:                  Control station is the control center that controls the Unmanned
                                                     Aerial Vehicles (UAVs or "drones").

                  Pointcloud:                        Pointcloud data is a collection of measured points in (X,Y, Z
                                                     coordinates) in a common reference system. These scanned
                                                     measurements are collected and grouped into a "pointcloud"
                                                     displaying a dense representation ofthe object. These
                                                     pointclouds store all the 3D survey data taken from scanner and
                                                     will be imported/merged into the 3D model.
                   Survey
                   Targeting:                        Survey targets are the temporary points that the contractor
                                                     places at the site or existing facility to establish the survey
                                                     control networlg each target is surveyed and tied to the plant
                                                     coordinate system.

                   Control Monuments: Control monuments                         are the physical fixed reference coordinate
                                                     pomt.

           1.2       Abbreviations
                      .LFD                      LFM File Format


                                                                                                                         Page   4 of20
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Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 7 of 30




Sou*h l-ouisiana                                South Louisiana Methanol
                                                                                                                  FLUOR"
                                                                                                  Modification I
                                                         SLM Project
Methanol                                        St. James Parish, Louisiana
                                                                                                  SOW for 3-D Aerial Mapping
                                                                                                  Revision: 0
                                                                                                  Date: 12/21/2018

                     LFM                        Light Form Modeler

                     QAiQC                      Quality Audit / Qualrty Control
                     UAV                        Unmanned Aerial Vehicle

                      .RCP                      AutoCAD ReCap File
                     DTM                        Digital Terrain Model


2.0       PROJECT SCOPE

          2.1        Scope of Work
                     The purpose of this document is to describe in detail the survey and engineering
                     parameters for the execution of the 3-D aerial mapping survey for the SLM Project.
                     The following Scope of Work includes 3-D aerial mapping of approximately 817 acres
                     located St. James Parish, Louisiana. The SLM project will convert 180,000 MMBTU
                     per day of naflral gas into 5,300 metric tons per day ('MTPD") of methanol for
                     delivery to the United States Gulf Cost petrochemicals market and potentially overseas
                     markets. The project site in south Louisiana is situated at the nexus of North American
                     petrochemicals production and prolific natural gas plays in Louisiana and Texas, with
                     access to world-class transportation infrastructure, and interstate and infrastate natural
                     gas pipelines. In addition to 3-D aerial mapping an additional survey by means of
                     robotic total station shall be utilized to serve two main purposes: establish the plant
                     coordinate system and register the 3-D aerial mapping pointcloud sun'ey data. This
                     will be the basis for the quality assurance report.




                                                  Map - SLM project in St. James Parish, Louisiaaa

          2.1        Project Flight Plan
                      2-l-l        Contractor shall apply industry best practices and required specifications for
                                   the entire UAV aerial data collection process which shall be detailed in the
                                   Contractors work plan.

                                                                                                                          Page 5   of20
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 Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 8 of 30




South Louisiana                                  South Louisiana Methanol
                                                                                                                  FLUOR,
                                                                                                   Modification 1
                                                          SLM Project
Methanol                                        St. James Parish, Louisiana
                                                                                                   SOW for 3-D Aerial Mapping
                                                                                                   Revision: 0
                                                                                                   Date: l2l2l/2018



                     2.1.2         Contractor shall comply with all Federal Aviation Administration (FAA)
                                   regulations for UAV operations, pilots, and aircraft.

                                   o     Pilot certification
                                   o     UAV registration requirements
                                   .     FAuA waivers that may be required to operate at certain times, in
                                         different types ofairspace, or outside ofFAA regulations.

                     2.1.3         Contractor shall plan a dual pass flight in a crossing pattern, 90 degrees apart.
                                   Additional passes may be required to eliminate any shadowing in the aerial
                                   mapping data. This will be the responsibility of the contractor.

                      2.1.4        There shall be a minimum of 80 % overlap when gatheringaeial imagery for
                                   proper registration.

                      2.r.3        Contractor shall meet the following tolerances for both vertical and
                                   horizontal survey measurements.
                                       0.33' for Topographical survey hard surfaces

                      2.t.5        The flight plan shall be scheduled and perfonned on a clear day free from
                                   snow, rain, low visibility and strong winds.

                      2.r.6        All equipment shall be calibrated before arriving to the site and checked
                                   and re-calibrated each day.

                      2.1.7        Contractor shall notiff Fluor of any areas of concern prior to completing the
                                   3-D aerial mapping detailed in this scope of work. If specific locations are
                                   critical to the project, these will be identified in advance so as to eliminate
                                   the potential for missing data or shadows in the data.

                      2.1.8        Contractor shall perform additional survey by means of a total station on the
                                   4 outfall drainage points shown on drawing: SJTI-I001-10-SK-003-06. The
                                   bottom elevation of the 4 locations must be cleared of any obstruction so that
                                   the lowest elevation point is surveyed. These surveyed points shall be
                                   archived with a datum point in the LFM 3-D pointcloud dataset and listed in
                                   the 3-D Registration Accuracy Report.
           ,, ,,
                      Survey Ground Control
                      2.2.1 Contractor shall develop a survey control plan that will meet or exceed this
                              scope of work technical requirements.

                      2.2.2        Contractor shall be responsible for the amount of horizontal and vertical
                                   ground control required to meet or exceed this scope of work.



                                                                                                                          Page   6 of20
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Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 9 of 30




South J*o*isiana                                 South Louisiana Methanol
                                                                                                                   FLUOR"
                                                                                                   Modification 1
                                                         SLM Project
Methanol                                        St. James Parish, Louisiana
                                                                                                   SOW for 3-D Aerial Mapping
                                                                                                   Revision: 0
                                                                                                   Date: l2l2L/2018

                     2.2.3         Contractor shall survey site/plant benchmark(s) and survey targets for
                                   establishing confol for the area(s) using a total station. The contractor shall
                                   use best industry practices on determining the amount of survey targets (to
                                   verifu survey accuracy) required.
                     2.2.4         All survey targets that       are used to establish the ground survey control
                                   network shall be visible in the pointcloud and all imagery deliverables.

                     2.2.5         All 3-D aerial mapping survey control               shall be listed in the 3-D Registration
                                   Accuracy Report, (See: Attachment C)

                     2.2.6         Contractor     will align final survey        data to the plant coordinate system listed
                                   belou.'.

                                         MON                   East                 North                  Elevation

                                         M#001                 37,653'-9"            10,012'-9"            18.31
                                         M#002                 35,3J5',-5"           10,008'-10"           15.03
                                         M#003                 30,000'-0"            10,000'-0"              7.42
                                         M#004                 38,045'-9'            13,439',-1"           18.30

                     2.2.7         Contractor shall verify horizontal and vertical data (State and Global
                                   Coordinates) utilizing a local national geodetic survey monument for plant
                                   monuments M-001 through M-004.

                     2.2.8         Contractor shall verify and confirm plant monument elevations are correct.

          2.3        Aerotriangulation
                     2.3.I         The mapping specifications to be used:

                                   Datums/Units
                                   NAD83 (1991) - Horizontal Datum
                                   NAVD88 - Vertical Datum
                                   U.S. Survey Feet

          2.4        Applicable Documents and Drawings
                     2.3-l         3-D aerial mapping scope drawings

                Drawing / Document                     Description:                                                         Notes

                SK-LS-OO-S1LM-OI                       3-D Aerial Mappine Area Index                                        Rev.   A
                sJTl-1001-10-SD-002                    Civil Permanent Monument Location Plan                               Rev.0
                sJTl-100 t- I 0-sK-003-06              Civil On Site CSW and Off Site Agricultural Outfall                  Rev.   A
                                                       Location




                                                                                                                          PageT of20
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 Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 10 of 30



                                                  South Louisiana Methanol
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 South J.,ouisi*na                                                                                 Modification 1
                                                          SLM Project
 Methanol                                        St. James Parish, Louisiana
                                                                                                   SOW for 3-D Aerial Mapping
                                                                                                   Revision: 0
                                                                                                   Date: I2l2l/2018

3.0     GENERAL INT'ORMATION

        3.1        General Notes to the Contractor

                      3.1.1         The contractor is responsible for providing a daily report (FORM
                                    000.430.F0127 (Revision Date: April 26,2006) (See: Attachment B) which
                                    will be submitted to a Fluor representative for sign offeach day.

                      3.1.2         Contractor shall comply with all currently applicable work rules and
                                    regulations in or around the South Louisiana Methanol site.

                      3.1.3         Contractor is expected to follow all South Louisiana Methanol site
                                    procedures with regard to safety and conduct a safefy toolbox kickoff
                                    meeting.

                      3.t.4         PPE and other related Safety equipment to be provided by contractor for own
                                    crew(s).

                      3.1.5         Contractor is responsible for moving all of their own equipment to and from
                                    area to area.

                      3.1.6         Contractor shall provide unit rates for stand-by time due to bad weather or
                                    inaccessibility to the areas detail in this scope of work.

                      3.t.7         Contractor to maintain data files in the case of data crash or hardware failure
                                    and re-submit to Fluor for restoration if needed.

                      3.1.8         Contractor shall identiff any special conditions or requirements that are
                                    required to complete the 3-D aerial mapping effort.

                      3.1.9         3-D aerial mapping survey data to be delivered on two (2) HDD, one
                                    being a working copy and one HDD for backup.


4.0      DELIVERABLES

         4.1        3-D Pointcloud
                      4.I-t         One registered and complete 3-D pointcloud dataset shall be delivered                           in
                                    LFM Server database format
                      4.L.2         One registered and complete 3-D pointcloud data shall be delivered in
                                    AutoCAD RECAP format. (*.rcp)

         4.2        Contour Drawing



                                                                                                                           Page 8 of20
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 Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 11 of 30



                                                 South Louisiana Methanol
                                                                                                                   FLUOFl."
 South J,ouisiana                                                                                  Modification 1
                                                          SLM Project
 Methanol                                        St. James Parish, Louisiana
                                                                                                   SOW for 3-D Aerial Mapping
                                                                                                   Revision: 0
                                                                                                   Date: l2l2l/2018

                      4.2.r        AutoCAD topographic drawing with contour lines at l-foot intervals and
                                    referenced to project datum. Every fifth contour line shall be an index
                                    contour of distinguishable line type or weight.

        4.3        Photomosaic (Orthophoto)
                      4.3.I        The final overall photomosaic will be georeferenced to the plant
                                   coordinate system.

        4.4        Digital Terrain Model (DTIvf)
                      4.4.1         Contractor to create an InRoads digital terrain model (DTM) of the 3-D
                                    aerial mapping survey data.

        4.5        3-D Studio
                      4.5.1         Contractor to supply the aerial survey data in 3-D Studio format. (*.3ds,
                                    *jpg and *.max)

        4.6        Outfall Drainage Point Survey
                    4,6.1 Total station survey report of the 4 outfall drainage points shown on
                              drawing: SJT1-1001-10-SK-003-06. The bottom elevation of the 4locations
                                    must be cleared of any obstruction so that the lowest elevation point is
                                    surveyed. These surveyed points shall be archived with a datum point in the
                                    LFM 3-D pointcloud dataset and listed in the 3-D Registration Accuracy
                                    Report.

        4.7        3-D Survey Registration Accuracy Report
                      4.7.1         Contractor shall supply a 3-D survey registration accruacy report on all
                                    ground survey control. The frnal report must contain the following but
                                    not limited to:

                                    1.    Equipr4ent List
                                    2. Target positions
                                    3- Survey orientation
                                    4- Errors of Collimation
                                    5. Calibrationcertificates

5.0      PROJECTE)GCUTION/SCIMDULE

         5.1        Project Work Plan
                       5.1.1 Contractor shall designate a single point of contact between its
                              management team and the Fluor's management team.

                        5.1.2       The Contractor shall pror,'ide experienced and suitably qualified personnel
                                    to provide technical support.

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Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 12 of 30




Sr:urh l.crui.siana                              South Louisiana Methanol
                                                                                                                   FLUOR,
                                                                                                   Modification I
                                                          SLM Project
Methanol                                        St. James Parish, Louisiana
                                                                                                   SOW for 3-D Aerial Mapping
                                                                                                   Revision: 0
                                                                                                   Date:   1212112018


                       5.1.3       Contractor must submit resumes of all persons that                    will   be on the jobsite


                       5.1.4       Contractor must submit all specifications for the equipment to be used on the
                                   site.


                       5.1.5       The Contractor shall submit a schedulelu'ork plan for Fluor revierv and
                                   approval. The rvork plan shall include the proposed organization chart,
                                   schedule, resources and equipment for perforrnance of the work to meet
                                   the 'Finish' date required to support the Fluor's overall project schedule.

                                   Work Plan, to include but not limited to:
                                    1.     Flight plan
                                   2.      Quality Plan
                                               o    List quality assurance/quality control procedures to be used in
                                                    imagery collection
                                   3. Type of aircraft, carnera mount, and airborne GPS configuration
                                   4. Ground survey control plan
                                   5. Survey registration plan, (80% overlap in the mapping data)
                                   6. Contingency plans for weather, airuaft., and/or equipment issues
                                   7. Organizational chart & resumes
                                   8. Schedule
                       5.1.5       The person or persons designated by Contractor to attend the meetings
                                   shall have all the required authority to make decisions and commit
                                   Contractor to solutions agreed upon during any coordination meetings.

        5.2        Project Schedule




         SOW - Out for Bid                                                                  lnl!f/DD/YYYY              ryfrvrTDDlvYl rl

         Proposal      In                                                                   NTI\,I/DDftYYY

         Contract Award                                                                     IITNI/DD/YYYY              JVTIVI/DD/YYYY

         Mobilization                                                                       M1\{/DD/t'Yllt'            l\{lvl/DD/Y}nT

         Demobilization                                                                     ]ITM/DDiYYVY               rvJI\.r/DD/YYYY

         Aerial Mapping Data Delivered                                                      MN{/DD/Y*YYY              MN,T/DD/YYYY


                                                                                                                          Page 10 of20
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Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 13 of 30




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                                                                                                  Modification I
                                                          SLM Project
Methanol                                        St. James Parish, Louisiana
                                                                                                  SOW for 3-D Aerial Mapping
                                                                                                  Revision:0
                                                                                                   Date: l2l2l/2018

        Owner / Fluor will schedule and coordinate Contractor's performance of the Work with the work
        of others and Contractor agrees to comply strictly with such scheduling and coordination.
        Specifi c scheduling requirements are:

        Deliverables will be submitted to Owner & Fluor. Contractor shall issue deliverables directly to
        Fluor.

        Work to commence on or about xx-xx-xx and comnlete bv xx-xx-xx Deliverables to be
        submitted to Fluor no later than xx-xx-xx


ATTACHMENTS
       Attachment A - 3-D Aerial Mapping Scope Drawing
       Attachment B - Contract Daily Report
       Attachment C - 3-D Registration Accuracy Report




                                                                                                                          Page   1l of20
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          Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 14 of 30




          S*uth l-ouisiana                                 South Louisiana Methanol
                                                                                                                               FLUOR.
                                                                                                              Modification I
                                                                    SLM Project
          Methanol                                         St- James Parish, Louisiana
                                                                                                              SOW for 3-D Aerial Mapping
                                                                                                              Revision:0
                                                                                                              Date: l2l2l/2018




                                                                   ATTACHMENT A

                                              3-D AERIAL MAPPING SCOPE DRAWINGS




          'CONFIDENTIAL
                                                                                                                                       Page 12    of20
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 Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 15 of 30




  St:uth Louisisna                               South Louisiana Methanol
                                                                                                                   FLUOR,
                                                                                                   Modification I
                                                            SLM Project
  Methanol                                       St. James Parish, Louisiana
                                                                                                   SOW for 3-D Aerial Mapping
                                                                                                   Revision:0
                                                                                                   Date: 12/21/2018

SK-LS-00-S1LM-01: 3-D Aerial Mapping Scope Drawing

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 Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 16 of 30




  Soulh J*ouisiana                                South Louisiana Methanol
                                                                                                                        FLUOR"
                                                                                                    Modification I
                                                           SLM Project
  Methanol                                       St. James Parish, Louisiana
                                                                                                    SOW for 3-D Aerial Mapping
                                                                                                    Revision: 0
                                                                                                    Date: 12/2112018

SJT1-1001-10-SK-003-06: On Site CSW and Off Site Agricultural Outfall Locations


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 Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 17 of 30




  Seruth l*ouisiana                              South Louisiana Methanol
                                                                                                                      FLUOR""
                                                                                                   Modification I
                                                          SLM Project
  Methanol                                       St. James Parish, Louisiana
                                                                                                   SOW for 3-D Aerial Mapping
                                                                                                   Revision: 0
                                                                                                   Date: 12/21/2018

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Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 18 of 30




South Louisiana                                  South Louisiana Methanol
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                                                                                                   SOW for 3-D Aerial Mapping
                                                                                                   Revision:0
                                                                                                   Date: 12/21/2018




                                                        ATTACHMENT B

                                               CONTRACT DAILY REPORT




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CONFI DENflAL -This information is considered CONFTDENTIAL and is authoized for use only by consulfarfs, contractors, or employees of third
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   Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 19 of 30




   South l-or-risiana                             South Louisiana Methanol
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                                                           SLM Project
   Methanol                                       St. James Parish, Louisiana
                                                                                                    SOW for 3-D Aerial Mapping
                                                                                                    Revision:0
                                                                                                    Date: 12/21/2018

CONTRACT DAILY REPORT

The Contract Daily Report is to be filled out by the Contractor, reviewed by Fluor and maintained by the Contracts
Administrator. This report requires the Contractor to report manpower, major equipment on site, activities of the day, and any
unusual occurrences. The Contracts Administrator or superintendent must review this data daily and concur with the Contractor's
report or rebut in writing.

INTRODUCTION

The first section contains general information to   identiffing the contractor, date, shift, work, location, etc. This section must
always be completed.

The second section is for listing the Contractor's manpower and major construction equipment... All units on site shall be
recorded in the count including those units of equipment not working on contract work (such as when the Contractor is utilizing
units ofequipment for its own benefit and maintenance ofits own facilities, etc.) which shall have "0" reported under hours.

The third section "Description of Work Performed Today" should report all major types of work and areas in which work was
performed-

The fourth section "Remarks by Contractor" is to record any and all unusual or non-routine events which effect operations, such
as intemrptions, delays, conflicting instructions, inclement weather, strikes, accidents, and the like. This may include the receipt
of a Contract Site Instruction. It may detail a delay occasioned by Fluor, another Contractor, or the Contractor's own operations.
The arrival and departure from site ofsecond tier subcontractors should be noted, as well as major changes in Contractor's
methods of operating. This section should record the details of materials received from Fluor or others, problems with temporary
faciiities, or agreements as to the use of the equipment or services. Where the remarks in this section outline a problem, they
should also state what solution has been proposed or who is responsible for resolving the problem. An absence of any references
in the Contract Daily Report to unusual or non-routine events will indicate that there were no such occurrences. The Contractor's
responsible representative must sign and date the report, thus placing his remarks (or silence) on record.

The final section of the report is designed for the Contract Administrator or Representative to complete any information missing
from the first four sections, indicate any disagreements which Fluor may have with the Contractor's reporting, or to make
comments relevant to the contract. The Contracts Administrator or Representative must sigrr and date each daily report thereby
verifoing or rebutting the information supplied in the previous four sections by the Contractor and returning a copy to the
Contactor.

IMPLEMENTATION
The Contract Daily Report should be completed by the Contractor, for each day (regardless of whether work was performed or
not) on the moming following the day reported, and submitted to the appropriate Fluor representative by noon of that same day.

Under no circumstances should daily reports be accumulated and filled out retrospectively.

The Contract Daily Report shali not be used in conjunction with, or in back-up to, hours spent in the performance of All-in rate or
Time and Material charges.




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  CONFIDENTIAL -This infomation is considered CONFIDENTIAL and is authoized for use only by consultants, contractors, or employees of third
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  Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 20 of 30




  South l.cuisiana                                South Louisiana Methanol
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  Methanol                                       St. James Parish, Louisiana
                                                                                                    SOW for 3-D Aerial Mapping
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CONTRACTOR                                       CONTRACT TITLE                                                   DATE


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DESCRIPTION OF WORK PEMORMED TODAY




REMARKS BY CONTRACTOR (Delays, Intemrptions, Deviations, Exta Work Activities, Unusual Occunence's, etc., Relevant to Today's
Work).




CONTRACTOR                             TITLE                                                                       DATE



FLUOR COMMENTS AND/OR EXCEPTIONS




FLUOR   ruPRLSENTAI]VE                 I'ITLE                                                                      DATE




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 CONFIDENTIAL -This information is considered CONFIDENTIAL and is authorized for use only by consultants, contractors, or employees of third
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Case 2:19-cv-11887-SSV-JVM Document 1-14 Filed 07/26/19 Page 21 of 30




South l*ouisiana                                South Louisiana Methanol
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                                                     ATTACHMENT C

                                 3-D REGISTRATION ACCURACY REPORT




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  Methanol                                        St. James Parish, Louisiana
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3-D Survey Registration Accuracy Report



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         FLUOR




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                              3D REGISTRATION ACCARACY SURVEY REPORT                                                                                                       Date:

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